502 F.2d 1388
    UNITED STATES of America ex rel. Alvin BLASSINGAME,Petitioner-Appellant,v.The Honorable Louis GENGLER, Warden, Federal House ofDetention, Respondent-Appellee.
    No. 13, Docket 74-1249.
    United States Court of Appeals, Second Circuit.
    Sept. 12, 1974.
    
      William J. Gallagher, The Legal Aid Society of New York City, on the brief (E. Thomas Boyle, New York City, of counsel), for petitioner-appellant.
      Before KAUFMAN, Chief Judge, and SMITH and TIMBERS, Circuit Judges.
      PER CURIAM:
    
    
      1
      The Legal Aid Society, continued as assigned counsel on this appeal from a denial of Blassingame's motion under 28 U.S.C. 2255, has moved to be relieved as counsel.
    
    
      2
      The only question presented for review is whether the unreasonable delay in holding Blassingame's parole revocation hearing entitles him to release from custody.  Subsequent to the district court's decision a fair parole revocation hearing was held, at which Blassingame admitted five of the charged parole violations, and asserted no claim of prejudice resulting from the delay.  The clear law of the Circuit is that such a hearing renders Blassingame's custody lawful.  United States ex rel. Buono v. Kenton, 287 F.2d 534 (2d Cir. 1961).  Consequently, we grant the motion to withdraw and affirm the order of the district court.
    
    